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                          United States Court of Appeals
                                        District of Columbia Circuit
                                       Washington, D.C. 20001-2866

   Mark J. Langer
   Clerk                                                                                  (202) 216-7300

                                       NOTICE TO COUNSEL:

                                 SCHEDULING ORAL ARGUMENT

            The court has entered an order setting a briefing schedule in a case in which you
         are counsel of record. Once a briefing order has been entered, the case may be set
         for oral argument.

            You will be notified by separate order of the date and time of oral argument.
         Once a case has been calendared, the Clerk’s Office cannot change the argument
         date, and ordinarily the court will not reschedule it. Any request to reschedule
         must be made by motion, which will be presented to a panel of the court for
         disposition. The court disfavors motions to postpone oral argument and will grant
         such a motion only upon a showing of "extraordinary cause." See D.C. Cir. Rule
         34(g).

            If you are the arguing counsel, and you will be unavailable to appear for oral
         argument on a date in the future, so advise the Clerk’s Office by letter, filed
         electronically. The notification should be filed as soon as possible and updated if
         a potential scheduling conflict arises later, or if there is any change in availability.
         To the extent possible, the Clerk’s Office will endeavor to schedule oral argument
         to avoid conflicts that have been brought to the court’s attention in advance. See
         D.C. Circuit Handbook of Practice and Internal Procedures at IX.A.1, XI.A.

            Counsel must notify the court when serious settlement negotiations are
         underway, when settlement of the case becomes likely, and when settlement is
         reached. Such notice allows for more efficient allocation of judicial resources.
         Additionally, counsel should promptly notify the court if settlement negotiations
         are terminated. Notice must be given in an appropriate motion or by letter to the
         Clerk at the earliest possible moment. See, e.g., D.C. Circuit Handbook of
         Practice and Internal Procedures at X.D., XI.A.



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